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UNITED STATES DISTRICT COURT
DISTRICT OF VERMONT

MISTY BLANCHETTE PORTER,
M.D.,

Plaintiff,

Vv. Docket No. 5:17-CV-194

MEDICAL CENTER,
DARTMOUTH-HITCHCOCK
CLINIC, MARY HITCHCOCK
MEMORIAL HOSPITAL, and
DARTMOUTH-HITCHCOCK
HEALTH,

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)
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)
)
DARTMOUTH-HITCHCOCK )
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)
Defendants. )

CERTIFICATE OF SERVICE

We hereby certify that on March 6, 2020, the following documents were served via
secure email to the following opposing counsel of record:

» Plaintiff's Response in Opposition to Defendants Motion for Summary Judgment
« Plaintiff's Statement of Disputed Material Facts in Support of Plaintiff's Response in
Opposition to Defendants Motion for Summary Judgment w/ Exhibits

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Respectfully Submitted,

Dated: March 6, 2020 By: Sf g l Vir

VITT & ASSOCIATES, PLC
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